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              UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF MASSACHUSETTS


C.P. PACKAGING, INC. d/b/a
OHLSON PACKAGING,

         Plaintiff,
                                    Case No. 20-cv-12041-RWZ
    v.

WILLIAM J. HALL and HART
FOOD PRODUCTS, INC.,

         Defendant.


             MEMORANDUM OF DEFENDANTS
    IN SUPPORT OF THEIR MOTION TO DISMISS COMPLAINT
       PURSUANT TO FED. R. CIV. P. 12(b)(6) AND, IN THE
   ALTERNATIVE, SPECIAL MOTION TO DISMISS COMPLAINT
  PURSUANT TO THE MASSACHUSETTS ANTI-SLAPP STATUTE




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      I.    INTRODUCTION AND SUMMARY OF ARGUMENT.

      The gravamen of this action is commercial disparagement consisting

solely of defendants’ statements made in anticipation of litigation. Some of

the statements were confidential attorney-client communications between

defendants and their former counsel. Under Massachusetts law, the

litigation privilege affords defendants immunity from liability for all of them.

Independently, none of the statements is defamatory as a matter of law.

      On these bases, defendants now move to dismiss this action under Rule

12(b)(6). In the alternative, they seek dismissal under the Massachusetts

anti-SLAPP law, Mass. Gen. Laws ch. 231, section 59H. This is explained

further below.

II.   FACTS AND PROCEEDINGS.

      A.    Background.

      Plaintiff C.P. Packaging, Inc., d/b/a Ohlson Packaging (“Ohlson”) is a

Massachusetts corporation which manufactures commercial packaging

equipment for multiple industries, including companies engaged in food

production. Complaint, ¶ 8.

      Defendants are William J. Hall and Hart Food Products, a company

Mr. Hall co-owns with his wife, Leila Hall, in Paramount, California. They

are sometimes referred to collectively hereinafter as Hart. Hart produces

frozen food products, including chicken nuggets with various sauces. Hart



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uses mechanical equipment to insert the chicken nuggets and sauce into

packages. Complaint, ¶ 7; Wm. Hall dec., ¶ 3.1

      In December 2015, Hart entered into a contract with Ohlson and its

equipment dealer, High Dream Machinery, LLC (“HDM”), to purchase food

packaging equipment. Complaint, ¶ 9. The equipment arrived at Hart’s

facility in California in February 2016. Complaint, ¶ 9; Wm. Hall dec., ¶ 4.

      Afterward, the equipment did not perform to Hart’s expectations.

There were bolts and washers that were not flush, horizontal surfaces, metal-

on-metal seams, and improper welds. These things threatened to allow the

contamination of the equipment with bacteria which can be very harmful to

humans if it winds up in food. Hart complained to HDM and Ohlson. Ohlson

and HDM tried to remedy the problems, but failed. See Wm. Hall dec., ¶ 5-7.

      In October 2016, Hart hired a food safety consultant to study the

problems. All the while, Hart employed a rigorous cleaning and testing

regiment of its facility and food products. Nonetheless, the sanitation issues

remained an ongoing and pressing concern. By February 2017, Mr. Hall

concluded that the equipment posed a great risk to Hart’s customers and


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  It is Hart’s first position that the Court should order dismissal pursuant to
Rule 12(b)(6) without considering anything except the complaint and its
exhibits. Insofar as this motion puts before the Court matters which are
outside the complaint, defendants ask the Court to consider them pursuant to
Rule 12(d) (which allows the Court to treat the motion as one for summary
judgment).



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operations. Wm. Hall dec., ¶ 8.

      In February 2017, Hart was contemplating litigation against Ohlson

and HDM. In that month, Mr. Hall emailed Brad Ducorsky of HDM and

asked for a refund of the purchase price for most of the equipment, citing the

safety and sanitation concerns summarized above. Wm. Hall dec., ¶ 9.

      Mr. Ducorsky disclaimed responsibility for the problems, denied the

refund request, and threatened litigation. Litigation was looming. Wm. Hall

dec., ¶ 10.

      True and correct copies of the emails on which Ohlson has predicated

this action are attached to the declaration of Mr. Hall.2 They are ordered and

lettered as Exhibits C, D, E, and F, and are identical to Exhibits C, D, E, and

F to Ohlson’s complaint, for the Court’s ease of reference. Wm. Hall dec., ¶

13. They are described in detail below.

      Ex. C (email exchanges of February 15, 2017). The top portion of page

1 of this exhibit is an email which Mr. Hall sent to Mr. Ducorsky, with a copy

to his wife, Leila, and his then-attorney, Donald Forbes, on February 15,

2017. This email articulates Mr. Hall’s contemplation of litigation against



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  The emails cited herein are properly considered on a 12(b)(6) motion. This
is because no party disputes their authenticity, they are central to Ohlson’s
claims, and the complaint refers to them. Watterson v. Page, 987 F.2d 1, 3
(1st Cir. 1993); Wheldon v. U.S. Bank Nat’l Ass’n, 2020 WL 6048731, * 1
(Oct. 13, 2020 D. Mass.) (opn. of Zobel, J.).



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Ohlson and BHD at that time, as is seen in this sentence: “If this goes to

court we’ll be asking for damages and all cost associated with the install of

the equipment . . . . I will hand this over to my attorney if I haven’t

received an agreement in writing from you and John by Friday, February

24th.” Hart dec., ¶ 14; Ex. C.

      Ex. D (email of February 16, 2017). This is an email which Mr. Hall

sent to Mr. Ducorsky, with a copy to Leila Hall and attorney Forbes, on

February 16, 2017. In this email, Mr. Hall wrote that he would “see you in

court[.]” He also wrote this: “Oh if we finally [sic] Listeria when we have the

independent lab come in and do the swa[bb]ing and it comes up in court or

with USDA and we are forced into a recall costing us potentially millions of

dollars that’ll be on your guy’s head too.” Hart was contemplating litigation

at the time based on what it viewed as Ohlson’s and BHD’s liability to Hart

for selling Hart equipment that was susceptible to listeria contamination.

Wm. Hall dec., ¶ 15; Ex. D.

      Ex. E (email exchanges of February 22 and 23, 2017). Mr. Hall sent

these emails in anticipation of litigation against Ohlson and BHD, writing to

Mr. Ducorsky, “have you ever heard of Listeria monocytogenes? . . . You’ll

be looking at a multi million dollar lawsuit from Hart . . . And if we only

find Listeria species which I’m convinced we will, a recall will be avoided but

the USDA will come after Ohlson . . . This is no idle threat. This is what



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my USDA consultant, a retired USDA inspector is telling me . . .” Wm. Hall

dec., ¶ 16; Ex. E.

      Part of this exhibit includes a confidential attorney-client

communication between Mr. Hall and attorney Forbes. It is the email which

Mr. Hall sent to Mr. Forbes on February 22, 20187, at 10:32 a.m. Mr. Hall

sent this email for the purpose of seeking legal advice, and didn’t mean to

share it with anyone except attorney Forbes. In it, Mr. Hall wrote, “Don

looks like they’re not going to deal with us. Can we start a class action

lawsuit against them . . . When we tear down their equipment I’m going to

have an independent lab come in and swab the conveyors for listeria. If we

find it, I can use that as leverage threatening to report them to USDA and

Los Angeles county health department. Any other angles you can think of?”

Wm. Hall dec., ¶ 17; Ex. E.

      Mr. Hall’s arbitration counsel, Eugen C. Andres, later inadvertently

produced this document to Ohlson before an arbitration between the parties

held in Boston in 2019. Mr. Andres affixed Bates numbers to this document

containing an alpha prefix (h) denoting Hart as the source of the document.

Afterward, Ohlson and its counsel never apprised Hart or its counsel that

they had received this clearly-privileged communication or offered to comply

with their ethical obligations concerning it. Wm. Hall dec., ¶ 17.

      Ex. F (Email of February 22, 2017). This is another confidential



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attorney-client communication. It is an email which Mr. Hall sent to

attorney Forbes and his colleague, Beatriz Medina-Storie, on February 22,

2017, at 7:02 p.m. It anticipates litigation and expresses Mr. Hall’s opinion

that listeria contamination would be found in areas of the equipment where

sectional components met one another. Hart’s arbitration counsel, Mr.

Andres, later inadvertently produced this email to Ohlson as well after

affixing a Bates number to it, H00167, denoting Hart as its source.

Afterward, Ohlson and its counsel never apprised Hart that they had

received this clearly-privileged communication. Nor did Ohlson’s counsel

offer to comply with its ethical obligations concerning it. Wm. Hall dec., ¶ 19.

      In July 2019, Leila Hall took photographs of the Ohlson equipment and

conducted testing for the presence of listeria on samples taken via swabs from

that equipment. Testing revealed that half of the samples collected were

positive for the presence of listeria. Ms. Hall was well-familiar with the

Ohlson equipment because she was heavily involved in Hart’s business at the

time it was installed at the Hart facility in California. Leila Hall dec., ¶ 2,

and Ex. 1 thereto. Hart self-reported these results to the U.S. Department of

Agriculture. Id., ¶ 3.

      Hart didn’t learn of Ohlson’s efforts to sell its business during the

period in which any of the above-listed emails were sent and received. Hart

did not learn of the sale, or Ohlson’s attempts to sell, until after the fact.



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Wm. Hart dec., ¶ 17.

      Hart never published any of these emails to any third parties. Nor did

Hart ever come into contact with any actual or prospective purchaser of

Ohlson’s business nor with anyone affiliated with any such actual or

prospective purchaser. Wm. Hart dec., ¶ 17. If Ohlson published Mr. Hall’s

emails, or anything about actual or potential listeria contamination, to any

such persons, Ohlson did so on its own and without Hart’s knowledge or

participation. Ohlson apparently elected to voluntarily disclose the

aforementioned issues to its prospective buyers, allegedly resulting in Ohlson

being able to sell its business for only $32,000,000 (instead of some higher

amount). Complaint, ¶¶ 37, 52.

      B.    Arbitration (2019-2020).

      Arbitration proceedings between Hart and Ohlson began in Boston in

August 2019 and culminated in the arbitral award issued in February 2020.

The award lacked any findings relating to whether or not the equipment was

or was not contaminated with listeria. Wm. Hall dec., ¶ 20.

      C.    This Action.

      Ohlson filed this action in November 2020, alleging claims for

commercial disparagement, fraud, interference with business relations, and

violation of Mass. Gen. Laws ch. 93A, § 11. Ohlson premised all of its claims

on the statements listed above. There is no allegation Hart published any of



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the statements to any third party or any prospective purchaser of Ohlson’s

assets or stock.

      On November 16, 2020, Hart agreed to waive service. All counsel

agreed that defendants would have until today (January 19, 2021) to file this

motion. Donnelly dec., 2.

      III.   ARGUMENT.

      A.     Ohlson’s Claims Rest Wholly on Statements Afforded

             Absolute Protection by the Litigation Privilege under

             Massachusetts Law.

      Massachusetts law bars claims predicated on statements made in

contemplation of litigation, holding them shielded from liability by the

litigation privilege. The privilege covers statement made preliminary to a

proposed or contemplated action, so long as they bear some relation to the

action. See Fisher v. Lint, 69 Mass. App. Ct. 360, 365-366, 886 N.E.2d 161,

167-168 (2007). See also Sriberg v. Raymond, 370 Mass. 105, 108-109, 345

N.E.2d 882, 883 (1976).

      The privilege is absolute. It shields the maker of an offensive

statement from any civil liability. It provides a complete defense, even if the

offensive statements are uttered maliciously or in bad faith. Doe v. Nutter,

McClennen & Fish, 41 Mass. App. Ct. 137, 140, 668 N.E.2d 1329, 1332 (1996)

(no liability under ch. 93A, Massachusetts Civil Rights Act, invasion of



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privacy, or intentional infliction of emotional distress). See also Correllas v.

Viveiros, 410 Mass. 314, 321, 572 N.E.2d 7, 10-14 (1991) (no liability for

malicious prosecution, defamation, or intentional infliction of emotional

distress); Robert L. Sullivan, D.D.S., P.C. v. Birmingham, 11 Mass. App. Ct.

359, 367-368, 416 N.E.2d 528, 533-534 (1981) (no liability for abuse of

process, libel, negligence, intentional infliction of emotional distress, or other

torts). See also Frazier v. Bailey, 957 F.2d 920, 932, 933 (1st Cir. 1992) (no

liability for emotional distress, defamation, intentional infliction of emotional

distress, or violation of Massachusetts Civil Rights Act).

      The privilege governs all claims based on protected statements,

irrespective of the label affixed to them by counsel. To allow otherwise would

make the privilege valueless if an individual would then be subject to liability

under a different theory. Nutter, McClennen, & Fish, 41 Mass. App. Ct. 137

at 140-141, 668 N.E.2d at 1333.

      The statements on which Ohlson sues were all written in emails

authored by Mr. Hall and sent to Brad Ducorsky (of HDM) and Mr. Hall’s

attorney Donald Forbes. Mr. Ducorsky and attorney Forbes then relayed the

statements to Ohlson and not to anyone else. All of the statements, on their

faces, contemplated litigation. It follows that the litigation privilege bars any

liability based on them. Ohlson’s claims for fraud, interference with business

relations, and violation of the unfair competition law are all derivative of its



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commercial disparagement claim. Each relies strictly on the sued-upon

statements, all of which are privileged. Ohlson alleges no other basis for

fastening liability on Hart. Thus there remains no viable theory of liability

which would save Ohlson’s complaint from dismissal now. See Nutter,

McClennen & Fish, 41 Mass. App. Ct. at 140, 668 N.E.2d at 1332; Correllas,

410 Mass. at 321, 572 N.E.2d at 10-14; Sullivan, 11 Mass. App. Ct. at 367-

368, 416 N.E.2d at 533-534.

      B.    Ohlson’s Claims Are Predicated Entirely on Statements

            that Are Not Defamatory as a Matter of Law.

      Ohlson is further precluded from recovery because the sued-on

statements are not defamatory as a matter of law.

      The elements of commercial disparagement are (1) publication of a false

statement to a person other than the plaintiff, (2) of and concerning the

plaintiff’s products or services, (3) with knowledge of the statement’s falsity

or with reckless disregard of its truth or falsity; (4) intent to harm the

plaintiff, or the foreseeability of that harm; and (5) pecuniary loss.

HipSaver, Inc. v. Kiel, 464 Mass. 517, 523, 984 N.E.2d 755, 763 (2013)

(internal citations and quotation marks omitted).

      Nearly every one of these elements is absent here, as explained below.

            1.    No false statement.

            The sued-upon statements are not false. None attributes the



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actual presence of listeria to Ohlson’s equipment. Mr. Hall wrote about what

he believed would happen “if” listeria were found on the equipment. He

asserted his belief that the equipment’s defects made it prone to

contamination. At best, these statements were non-actionable because they

were true. Testing revealed that the equipment was in fact contaminated

with listeria. Leila Hall dec., ¶ 3; Exhibit 1 thereto. At worst, they were

opinion -- and non-actionable for the same reason. See King v. Globe

Newspaper Co., 400 Mass. 705, 708-709, 512 N.E.2d 241, 246-247 (1987);

Flotech, Inc. v. E.I. Du Pont de Nemours Co., 627 F. Supp. 358, 368 (D.

Mass. 1985), aff 'd, 814 F.2d 775 (1st Cir. 1987); Cole v. Westinghouse Broad.

Co., 386 Mass. 303, 308-313, 435 N.E.2d 1021, 1025 (1982).

            2.    No Publication.

            Ohlson doesn’t, and can’t, allege that Hart published the

statements to anyone except Hart’s counsel, Ohlson’s dealer HDM, and

Ohlson itself. Ohlson then voluntarily published the statements to a

prospective buyer. Thus the only publication that occurred came directly

from Ohlson.

      Ohlson thus posits this theory: having denied in private, and at

arbitration, that its equipment was contaminated with listeria or subject to

such contamination, Ohlson voluntarily published statements to the opposite

effect to third parties, thus defaming itself. As a matter of both law and logic,



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this is both absurd and impossible. See White v. Blue Cross & Blue Shield of

Mass., Inc., 442 Mass. 64, 69-72, 809 N.E.2d 1034, 1035-1040 (2004)

(rejecting doctrine of compelled self-publication defamation). See also Rest.

(2d) of Torts § 577 comment m (1997) (rejecting self-defamation except where

plaintiff repeats a statement but is not cognizant of its defamatory nature).

        C.    Ohlson’s Claims Are Further Precluded by Massachusetts

              Anti-SLAPP Law.

              1.    Anti-SLAPP law; burden shifting analysis.

              The Massachusetts anti-SLAPP statute provides in pertinent

part:

        In any case in which a party asserts that the civil claims,
        counterclaims, or cross claims against said party are based on
        said party’s exercise of its right of petition under the constitution
        of the United States or of the commonwealth, said party may
        bring a special motion to dismiss. The court shall advance any
        such special motion so that it may be heard and determined as
        expeditiously as possible. The court shall grant such special
        motion, unless the party against whom such special motion is
        made shows that: (1) the moving party’s exercise of its right to
        petition was devoid of any reasonable factual support or any
        arguable basis in law and (2) the moving party’s acts caused
        actual injury to the responding party. In making its
        determination, the court shall consider the pleadings and
        supporting and opposing affidavits stating the facts upon which
        the liability or defense is based.

Mass. Gen. Laws ch. 231, § 59H.

        The statute protects, under its broad definition for “a party’s exercise of

its right of petition,” any statements “falling within constitutional protection




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of the right to petition government.” Id. See Blanchard v. Steward Carney

Hosp., 477 Mass. 141, 147-148, 75 N.E.3d 21, 29 (2017).

      Section 59H sets forth a two-step process for determining whether an

action constitutes a SLAPP suit. First, the moving party must show that the

claims against it are based on its petitioning activities alone and have no

substantial basis other than or in addition to the petitioning activities.

Duracraft Corp. v. Holmes Prods. Corp., 427 Mass. 156, 167-168, 691 N.E.2d

935, 943 (1998). Defendant’s motivation for engaging in petitioning activity

does not factor into whether it has met this threshold burden. 477 Harrison

Ave., LLC v. JACE Boston, LLC, 477 Mass. 162, 168, 74 N.E.2d 1237, 1245-

1246 (2017). See also Office One, Inc. v. Lopez, 437 Mass. 113, 122, 769

N.E.2d 749, 757 (2002). Rather, the key inquiry is whether the only conduct

complained of is petitioning activity. 477 Harrison Ave., 477 Mass. at 168, 74

N.E.2d at 1244 (quoting Fabre v. Walton, 436 Mass. 517, 524, 781 N.E.2d 780

(2002)).

      Upon such a showing, the Court proceeds to the second step. The

burden shifts to plaintiff to establish by a preponderance of the evidence that

(1) defendant’s exercise of its right to petition was devoid of any reasonable

factual support or any arguable basis in law, i.e., sham petitioning, and (2)

defendant’s acts caused plaintiff actual injury. Mass. Gen. Laws ch. 231, §

59H. See also Baker v. Parsons, 434 Mass. 543, 544, 750 N.E.2d 953, 960



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(2001). A factor is whether plaintiff’s claims are colorable, i.e., offering some

reasonable possibility of a decision in its favor. Blanchard, 477 Mass. at 160-

161, 21 N.E.3d at 39 (quoting L.B. v. Chief Justice of Probate & Family Court

Dept., 474 Mass. 231, 241, 49 N.E.2d 230 (2016) and Commonwealth v. Levin,

7 Mass. App. Ct. 501, 504, 388 N.E.2d 501 (1979) (internal citations

omitted)).

      The structure of the nonmoving party’s complaint and the labels of the

claims chosen by plaintiff’s counsel matters not to this analysis. The law

does not allow plaintiffs to circumvent the anti-SLAPP statute by combining

claims based on petitioning as well as non-petitioning conduct into a single

count. See Reichenbach v. Haydock, 92 Mass. App. Ct. 567, 573, 90 N.E.3d

791, 797 (2017). The Court assesses the totality of the circumstances

pertinent to plaintiff’s asserted primary purpose in bringing its claim. See

Blanchard, 477 Mass. at 160, 75 N.E.3d at 39.

             2.    First prong: The statements attributed to Hart are

                   protected by the statute, because they pertain to

                   Hart’s right to petition.

             Pre-litigation threats to file suit constitute petitioning activity

protected by the anti-SLAPP statute. See Gillette Co. v. Provost, Nos. 132499,

SUCV2015-00149-BLS2, 2015 Mass. Super. LEXIS 139, at 5 (Sep. 15, 2015),

aff’d, 91 Mass. App. Ct. 133, 74 N.E.2d 275 (2017). Here, Ohlson’s claims are



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premised entirely upon alleged statements Hart made preliminary to

anticipated litigation. It follows they all fail. Id. See also Fisher, 69 Mass.

App. Ct. at 365-366, 886 N.E.2d at 167-168; Sriberg v. Raymond, 370 Mass.

at 108-109, 345 N.E.2d at 883.

      Moreover, the sued-on statements also constitute petitioning activity on

the part of Hart. They are “statement[s] reasonably likely to encourage

consideration or review of an issue by a legislative, executive, or judicial body

or any other governmental proceeding[.]” They are thus statements falling

within the constitutional protection of the right to petition government

grounded in the first amendment to the federal constitution. All of Ohlson’s

claims are predicated on these statements, and these statements only. It

follows that Hart has met its threshold burden on this motion. Wenger v.

Aceto, 451 Mass. 1, 5, 883 N.E.2d 262, 266 (2008).

            3.    Second prong: Ohlson can’t and won’t be able to

                  show a probability of prevailing on the merits, since

                  the statements aren’t defamatory as a matter of law.

            Ohlson will be unable to carry its burden of showing that Hart’s

petitioning activities lacked any reasonable factual or legal support or that

Ohlson’s claim is colorable. See Blanchard, 477 Mass. at 160-161, 75 N.E.3d

at 39. Nor will Ohlson be able to establish that its lawsuit “was not primarily

brought to chill the special movant’s legitimate petitioning activities.” See id.



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Hart’s statements, at worst, were non-actionable opinion never published by

Hart to anyone except Hart’s own counsel, Ohlson, and Ohlson’s affiliate,

HDM. Thus they cannot possibly be defamatory or tortious in any other way.

See King, 400 Mass. at 708-709, 512 N.E.2d at 246-247; Flotech, 627 F.

Supp. at 368; Cole, 386 Mass. at 308-313, 435 N.E.2d at 1025.




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IV.   CONCLUSION.

      The Court should grant this motion and dismiss this action with

prejudice.

                                    Respectfully submitted,

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                                    Food Products, Inc.


                                    By their attorneys,


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Dated: January 19, 2021




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                       CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system

will be sent electronically to the registered participants as identified on the

Notice of Electronic Filing (NEF) and paper copies will be sent to those

indicated as non-registered participants on January 19, 2021.

                              s/T. Christopher Donnelly
                              T. Christopher Donnelly




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